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                                                                  EXHIBIT 1



                                        EXHIBIT 1
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                                                  EFiled: Jun 01 2018 11:06AM EDT
                                                  Transaction ID 62086634
                                                  Case No. 2018-0177-JTL
       IN THE COURT OF CHANCERY IN THE STATE OF DELAWARE


KENNETH RICHE, On Behalf of
Himself and All Others Similarly             C.A. No. 2018-0177-JTL
Situated,

                    Plaintiff,               CLASS ACTION
  v.
                                             PUBLIC VERSION
JAMES C. PAPPAS, JOHN H.
WALKER, DOUGLAS J. GLASPEY,
PAUL LARKIN, LELAND “ROY”
MINK, RANDOLPH J. HILL, and ALI
G. HEDAYAT,

                     Defendants.


            VERIFIED AMENDED CLASS ACTION COMPLAINT
                        (PUBLIC VERSION)

        Plaintiff Kenneth Riche (“Plaintiff”), through undersigned counsel, brings

this Amended Complaint on behalf of himself and the holders of the common stock

of U.S. Geothermal Inc. (“U.S. Geothermal” or the “Company”) against the

members of the Board of Directors (as defined herein) of U.S. Geothermal for

breaching their fiduciary duties in connection with the acquisition of U.S.

Geothermal by Ormat Technologies, Inc. (“Ormat Technologies”), Ormat Nevada

Inc. (“Ormat Nevada” and, together with Ormat Technologies, “Ormat”), and OGP

Holding Corp. (“Merger Sub”) (the “Buyout” or “Merger”). This action seeks

damages suffered by Plaintiff and the Class (as defined herein) as a result of



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Defendants’ wrongdoing.

      The allegations of this Complaint are based on Plaintiff’s knowledge as to

himself, and on information and belief based upon, among other things, the

investigation of counsel and publicly available information, as to all other matters.

                         SUMMARY OF THE ACTION

      1.     This is a stockholder class action brought by Plaintiff on behalf of

U.S. Geothermal stockholders against the U.S. Geothermal Board for breaches of

fiduciary duty and/or other violations of state law arising out of the sale of U.S.

Geothermal to Ormat by means of an unfair process, for an inadequate price, and

without full disclosure of all material information.

      2.     Up until the Merger, U.S. Geothermal was a leading and (importantly)

profitable renewable energy company focused on the development, production, and

sale of electricity from geothermal energy. On January 24, 2018, U.S. Geothermal

announced that it had entered into a definitive merger agreement (the “Merger

Agreement”), pursuant to which Merger Sub would merge with and into U.S.

Geothermal, with U.S. Geothermal continuing as the surviving corporation in the

Merger. On April 19, 2018, U.S. Geothermal stockholders voted to approve the

Buyout, and, on April 24, 2018, the Buyout was consummated and U.S.

Geothermal ceased to be a publicly traded company.

      3.     In connection with the Buyout, U.S. Geothermal stockholders



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received only $5.45 in cash for each share of U.S. Geothermal common stock that

they owned (the “Merger Consideration”). This Merger Consideration and the

Buyout as a whole were the result of a conflicted process that demonstrably failed

to maximize stockholder value and to protect the interests of U.S. Geothermal’s

stockholders. More specifically, Defendants engaged in a process that was

designed to satisfy the need and/or desire for liquidity of Defendant Pappas, an

activist investor and the Company’s controlling stockholder, who took a nearly

15% interest in the Company that precipitated the sales process. Plaintiff has

uncovered non-public information demonstrating that,




                                     . As a result, Plaintiff and the other public

stockholders received an unfair price in the Buyout.

      4.

                                                                       Instead, in

order to convince stockholders to vote in favor of the Buyout, on March 20, 2018,

Defendants authorized the filing of a materially incomplete and misleading

definitive proxy statement (the “Proxy”) with the Securities and Exchange

Commission (“SEC”), in violation of their fiduciary duties.



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            such that the vote on the Buyout was not fully informed.

      5.    For these reasons and as set forth in detail herein, Plaintiff seeks to

recover damages resulting from the Defendants’ violations of their fiduciary duties.

                                    PARTIES

I.    Plaintiff

      6.    Plaintiff is, and at all relevant times was, a continuous stockholder of

U.S. Geothermal.

II.   Defendants

      7.    Defendant James C. Pappas (“Pappas”) has served as a director of the

Company since October 2016. In addition to his role on this Board, and other

boards, Pappas is the founder and principal of the activist hedge fund JCP

Investment Management, LLC (“JCP Investment Management”). Through JCP

Investment Management, Pappas controls 15% of the Company’s outstanding



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common stock. Based upon information and belief,

                                      , Defendant Pappas had a need and/or desire

to liquidate his holdings in U.S. Geothermal,



      8.    Defendant John H. Walker (“Walker”) has served as a director of U.S

Geothermal and the Chairman of its Board since December 2003.

      9.    Defendant Douglas J. Glaspey (“Glaspey”) is the co-founder of U.S.

Geothermal and currently serves as the President, Chief Operating Officer, and a

director of the Company. He has served as a director since December 2003.

      10.   Defendant Paul Larkin (“Larkin”) has served as a director of the

Company since March 2000.

      11.   Defendant Leland “Roy” Mink (“Mink”) has served as a director of

the Company since November 2006.

      12.   Defendant Randolph J. Hill (“Hill”) has served as a director of the

Company since September 2016.

      13.   Defendant Ali G. Hedayat (“Hedayat”) has served as a director of the

Company since January 2017.

      14.   Defendants Pappas, Walker, Glaspey, Larkin, Mink, Hill, and Hedayat

form the Board of Directors of U.S. Geothermal and are collectively referred to

herein as the “Board” or the “Defendants.”



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III.   Relevant Non-Parties

       15.   U.S. Geothermal Inc. (previously defined as “U.S. Geothermal”) is a

corporation organized and existing under the laws of the State of Delaware with its

principal executive offices located at 390 E. Parkcenter Blvd., Suite 250, Boise,

Idaho 83706.

       16.     Ormat Technologies, Inc. is a Delaware corporation with its principal

executive offices located at 6225 Neil Road, Reno, Nevada 89511.

       17.     Ormat Nevada Inc. is a Delaware corporation and a wholly owned

subsidiary of Ormat Technologies, Inc., with its principal executive offices located

at 6225 Neil Road, Reno, Nevada 89511.

       18.     OGP Holding Corp. is a Delaware corporation and a wholly owned

subsidiary of Ormat Technologies, Inc., with its principal executive offices located

at 6225 Neil Road, Reno, Nevada 89511.

       19.   JCP Investment Partnership, LP, JCP Drawdown Partnership III, LP,

JCP Investment Holdings, LLC, and JCP Investment Partners, LP are affiliated

with JCP Investment Management, LLC (previously defined as “JCP Investment

Management”), of which Defendant Pappas is Managing Member and owner. All

such entities are organized under the laws of the State of Texas and maintain their

principal executive offices located at 1177 West Loop South, Suite 1320, Houston,

Texas 77027.



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                  THE DEFENDANTS’ FIDUCIARY DUTIES

      20.    By reason of the Defendants’ former positions with the Company as

officers and/or directors, they were in a fiduciary relationship with Plaintiff and the

other public stockholders of U.S. Geothermal and owed them a duty of care,

loyalty, good faith, candor, and independence.

      21.    By virtue of their former positions as directors and/or officers of U.S.

Geothermal, the Defendants, at all relevant times, had the power to control and

influence U.S. Geothermal, did control and influence U.S. Geothermal, and caused

U.S. Geothermal to engage in the practices complained of herein.

      22.    To diligently comply with their fiduciary duties, the Defendants were

prohibited from taking any action that: (a) adversely affected the value provided to

the Company’s stockholders; (b) favored themselves or discouraged or inhibited

alternative offers to purchase control of the corporation or its assets; (c) adversely

affected their duty to search and secure the best value reasonably available under

the circumstances for the Company’s stockholders; (d) would provide the

Defendants with preferential treatment at the expense of, or separate from, the

public stockholders; and/or (e) contractually prohibited the Defendants from

complying with or carrying out their fiduciary duties.

     23.     In accordance with their duties of loyalty and good faith, the

Defendants were obligated to refrain from: (a) participating in any transaction



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where the Defendants’ loyalties are divided; (b) participating in any transaction

where the Defendants receive, or are entitled to receive, a personal financial

benefit not equally shared by the public stockholders of the corporation; and/or (c)

unjustly enriching themselves at the expense or to the detriment of the public

stockholders.

     24.     Plaintiff alleges herein that the Defendants, separately and together, in

connection with the Buyout, knowingly or recklessly violated their fiduciary

duties, including their duties of loyalty, good faith, candor, and independence owed

to the Company.

                  CLASS REPRESENTATION ALLEGATIONS

      25.    Plaintiff brings this action on behalf of himself and as a class action

pursuant to Rule 23 of the Rules of the Court of Chancery on behalf of all other

holders of U.S. Geothermal common stock who were harmed by Defendants’

actions described below (the “Class”). Excluded from the Class are Defendants

herein and any person, firm, trust, corporation, or other entity related to or

affiliated with any of the Defendants.

      26.    This action is properly maintainable as a class action because:

             a.    The Class is so numerous that joinder of all members is

      impracticable. As of March 1, 2018, there were approximately 19,494,566

      outstanding shares of U.S. Geothermal common stock. The actual number



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of public stockholders of U.S. Geothermal will be ascertained through

discovery.

   b. There are questions of law and fact that are common to the Class that

      predominate over any questions affecting only individual members,

      including:

             i)     whether the Defendants breached their fiduciary duties

                    with respect to Plaintiff and the other members of the

                    Class in connection with the Buyout;

             ii)    whether the Defendants breached their fiduciary duty to

                    obtain the best price available for the benefit of Plaintiff

                    and the other members of the Class in connection with

                    the Buyout;

             iii)   whether the Defendants breached their fiduciary duty to

                    disclose fully and fairly all material information within

                    the Board's control in connection with the Buyout; and

             iv)    whether Plaintiff and other members of the Class are

                    entitled to damages as a result of the Defendants’

                    wrongful conduct.




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            c.     Plaintiff is an adequate representative of the Class, has retained

      competent counsel experienced in litigation of this nature, and will fairly and

      adequately protect the interests of the Class.

            d.     Plaintiff’s claims are typical of the claims of the other members

      of the Class and Plaintiff does not have any interests adverse to the Class.

            e.     The prosecution of separate actions by individual members of

      the Class would create a risk of inconsistent or varying adjudications with

      respect to individual members of the Class, which would establish

      incompatible standards of conduct for the party opposing the Class.

            f.     Defendants have acted on grounds generally applicable to the

      Class with respect to the matters complained of herein, thereby making

      appropriate the relief sought herein with respect to the Class as a whole.

            g.     A class action is superior to other available methods for the fair

      and efficient adjudication of this controversy.

                       SUBSTANTIVE ALLEGATIONS

I.    Relevant Corporate Background

      27.   Prior to the Buyout, U.S. Geothermal was a leading and profitable

renewable energy company focused on the development, production, and sale of

electricity from geothermal energy. The Company was then operating geothermal

power projects at Neal Hot Springs, Oregon; San Emidio, Nevada; and Raft River,



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Idaho for a total designed net output of approximately 45 mega-watts (“MWs”).

The Company was also developing projects at the Geysers, California; a second

phase project at San Emidio, Nevada; at Crescent Valley, Nevada; and the El

Ceibillo project, located near Guatemala City, Guatemala. Through long-term

agreements, it sells electricity and energy credits to Idaho Power Company, NV

Energy, and Holy Cross Energy.

        28.   Ormat Technologies is also engaged in the geothermal and recovered

energy power business. Ormat Technologies designs, develops, builds, owns, and

operates geothermal and recovered energy-based power plants. The Company's

equipment manufacturing operations are located in Israel and its common stock

trades on the NYSE and Israeli stock exchange. According to U.S. Geothermal,

Ormat Technologies is the largest pure geothermal company in the world.

        29.   JCP Investment Management is an activist hedge fund founded by

Defendant Pappas on April 9, 2009. Defendant Pappas has complete investment

discretion of the entire $130,000,000+ of assets under management by the fund. As

outlined below, the fund has a track record of making concerted efforts to change

the management of companies by securing seats on their boards and, after

Defendant Pappas becomes publicly involved with a company or joins its board in

connection with an activist campaign, the company is often sold in less than one

year:



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         30.   Notably, the shares purchased by JCP during its activist campaigns

are traditionally purchased with working capital, which, as the Company has

disclosed in several of its Form SC13D/A’s, including those filed in connection

with Defendant Pappas’ activist campaign against U.S. Geothermal, “may include

margin loans made by brokerage firms.”16 Upon information and belief, the

potential influence of such margin loans on JCP’s length of investment, along with

Defendant Pappas’ track record of securing sales in his activist campaigns within

one year, raise the indicia of JCP’s need and/or desire for liquidity in connection

with its activist campaigns, including its campaign against U.S. Geothermal.

         31.   In addition, in many of the instances in which JCP’s activist

involvement did not prompt an acquisition of his target company, JCP beneficially

owned less than 10% of the respective company’s outstanding common stock at all

relevant times, and, in most instances, far less. Conversely, as noted above, JCP

beneficially owns approximately 15% of U.S. Geothermal’s outstanding common

stock.




16
      See Form SC 13D/A filed by JCP on January 25, 2018 in connection with
JCP’s holdings in U.S. Geothermal; Form SC 13D/A filed by JCP on June 7, 2017
in connection with JCP’s holdings in Fiesta; and Form 13D/A filed by JCP on July
25, 2016 in connection with JCP’s holdings in Casella.


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II.   The Flawed Sales Process

      A.    Ormat Approaches U.S. Geothermal, But The Board Opts to
            Pursue its Standalone Strategy

      35.   Ormat originally reached out to U.S. Geothermal in July 2015, at

which time the parties executed a nondisclosure agreement that contained a

standstill provision that lasted until April 15, 2016. Ultimately, Ormat failed to

make an offer that the Board considered sufficient, and, in March 2016, the Board

determined that continuing to execute as a stand-alone company was the best

path for maximizing long-term stockholder value.

      B.    Defendant Pappas Amasses a 15% Stake in the Company and the
            Board Abandons its Plans to Pursue Its Standalone Strategy and
            Begins a Sales Process

      36.   From December 2015 to February 2016, Defendant Pappas, through

JCP Investment Management, acquired a 5% stake in the Company. By mid-July

2016, he had increased his stake in the Company to over 15% of the outstanding

shares. According to the January 25, 2018 Form SC13D/A filed on behalf of

entities associated with JCP Investment Management, through those entities,

Defendant Pappas purchased 938,360 shares of U.S. Geothermal for approximately

$3,281,456 and 1,916,588 shares for approximately $8,724,372, resulting in an




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average cost basis for the 2,854,948 shares held by entities associated with

Defendant Pappas of only $4.20 per share.

      37.    As is typical of any activist investor taking a large, aggressive stake in

a publicly traded company, Defendant Pappas disclosed in his initial, February

2016 SEC filing regarding his increasing stake in the Company that he intended to

“engage[] in communications with management and the Board of Directors” and

with U.S. Geothermal stockholders regarding a number of issues, including, most

notably – for the Board at least – “ownership structure . . . [and] board structure

(including board composition).” Of course, directors of a publicly traded company

know exactly what this means – that the activist intends to seek change and is

willing to oust them to get it.

      38.    Unsurprisingly, then, in light of this continuously increasing stake in

the Company, at some point during this time and prior to the filing of the August

19, 2016 preliminary proxy statement for the annual stockholders meeting,

Defendant Pappas convinced the Board to approve and recommend him for

election to the Board. On September 30, 2016, Pappas was elected to the Board.

And, like clockwork, shortly after Defendant Pappas’ appointment to the Board –

and despite the Board’s March 2016 determination that “continuing to execute the

company’s strategic growth plan was the best path to maximizing long term

stockholder value” – on December 1, 2016, in response to a November 2016



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indication of interest from Party A, the Board decided to reevaluate potential

transactions. Defendant Pappas was appointed to the special committee for this

renewed sales process (the “Special Committee”).17

      39.    As one of four members of the Special Committee, Defendant Pappas

served an important role as one of the chief negotiators of the Buyout. However,

Defendant Pappas in particular appears to have occupied a greater role in this

process. For example, and as outlined in greater detail below, he was solely

responsible for interviewing the final candidates to serve as financial advisor. He

also appears to have personally chased Party B out of the bidding process when it

made a non-cash offer, as activist investors generally prefer cash-out mergers to

close their investments. Further securing his control over the Company, in addition

to serving on the Special Committee, Defendant Pappas was also named to the

Company’s Executive Committee after former CEO Gilles was removed, which, in

addition to overseeing the search for a new CEO, guided the Company on key

strategic initiatives and capital allocation – in effect acting as temporary CEO.



17
       As originally configured, there were three members of the Special
Committee: Defendants Hill, Larkin, and Pappas. However, for unstated reasons,
on January 25, 2017, the Board resolved to increase its size from seven to eight
directors. Effective February 1, 2017, Defendant Ali Hedayat – another hedge fund
founder – served as the eighth member of the Board and the fourth member of the
Special Committee. The Board was subsequently reduced back to seven members
when former CEO Gilles was ousted from the Company.


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      C.    The Renewed Sales Process

      40.   From the outset of the renewed sales process that followed Defendant

Pappas’ investment in the Company and accession on the Board, the Company

itself determined that its value far exceeded the ultimate Merger Consideration and

the Company received offers that far exceeded the ultimate Merger Consideration.

For example, on November 22, 2016, Party A submitted a non-binding indication

of interest of $5.30 to $5.93 per share. Thereafter, Mr. Gilles, U.S. Geothermal’s

former CEO, made contact with four public and private geothermal companies and

one private equity fund that had previously expressed interest in a potential

transaction to explore their interest in making a renewed indication of interest.

While waiting for these renewed IOI’s, the Special Committee met and concluded

“that the range suggested by Party A was low” and, on December 13, 2016, when

Mr. Gilles and Defendants Larkin and Glaspey met with representatives of Party

A, Defendant Larkin indicated that an offer in the range of $6.00 to 6.50 per share

would be more compelling to the Special Committee.

      41.   In the interim, Defendant Pappas interviewed the two preferred

choices of the Special Committee for financial advisors. On December 15, 2016,

apparently without any further review except that performed by Defendant Pappas,

the Special Committee engaged ROTH as its financial advisor.




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      45.   On January 17, 2017, and consistent with his need and/or desire for

liquidity, Defendant Pappas personally spoke with representative of Party B to

demand that it modify its proposal to become a cash purchase for all of the

Company’s shares. Later, in April 2017, Party B informed Defendant Pappas that it

was withdrawing from the process.

      46.   On the following day, January 18, 2017, the Special Committee met

and determined that all of the current bids were “inadequate.” During the week of

January 30, 2017, Party C executed a confidentiality agreement and conducted due

diligence and, on or about March 6, 2017, Party C indicated that it was not

interested in moving forward. This is the last mention of Party C in the

Background of the Merger Section of the Proxy.

      47.   Contemporaneously, on March 3 and March 15, 2017, respectively,

Party A indicated that, while its prior proposal remained in place, it would not be

increasing its bid, and Party D submitted a proposal for a share exchange



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transaction that implied a price per share consideration of approximately $4.66 per

share. Later, on March 16, 2017, Ormat indicated that, subject to renewed due

diligence, its indicative range for the whole Company implied a price of

approximately $4.25 to $4.48 per share. Although Ormat’s bid was facially and

significantly inferior to all other current offers, Defendants Larkin, Pappas, and

Hedayat met with representatives of Ormat on May 9, 2017, to discuss the terms

on which Ormat might be willing to acquire the Company. Contemporaneously, in

mid-May 2017, Party A informed Mr. Gilles that its prior bid may not be its final

offer.

         48.   By mid-to-early 2017, the Board appears to have decided to pursue a

sale. To this end, on April 24, 2017, the Company announced that it would not

extend the employment agreement for its CEO, Mr. Gilles, beyond its current term,

which was set to expire on July 18, 2017, but that it was discussing a role for Mr.

Gilles as an outside advisor to the Company after his agreement expired.

         49.   In late May, Defendant Pappas discussed a potential bid with Party F,

and Defendant Hedayat had further conversations with Ormat and joint bidder

Party D/E.19 On June 1, 2017, representatives of the Company held a

videoconference with representatives of Ormat, during which preliminary terms for

a proposed transaction were discussed, but no agreement on valuation was reached.

19
         In the interim, Party D had begun working with a partner, Party E.


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encouraged Party D/E to present a proposal for the acquisition of U.S.

Geothermal’s shares, rather than assets, on June 20, 2017, Party D/E submitted a

revised proposal to acquire U.S. Geothermal’s shares for $6.00 per share.

      53.    Finally, although Party A did not submit a revised proposal in mid-

June, its prior proposal of $5.30 to $5.93 per share had not been withdrawn.

Nonetheless, according to the Proxy, the Special Committee regarded the

possibility of completion of a transaction with Party A to be lower than compared

to a transaction with Ormat or Party D/E.

      54.    On June 22, 2017, Party D/E submitted a revised proposal of $6.25

per share and, on June 24, 2017, the Special Committee recommended, and the

Board approved, moving forward with Party D/E. On the following day, Ormat

proposed revising its bid to eliminate the price range in favor of a $5.80 per share

price, but did not change any other terms of or otherwise increase its bid.

      55.    Then, on July 3, 2017, Party G, which had been having intermittent

communications with representatives of the Company, submitted a proposal to

acquire the Company for $6.75 per share and the potential for an additional $0.25

per share under certain circumstances. In response, Defendant Pappas and a

representative of ROTH contacted Party D/E to offer Party D/E the opportunity to

submit a revised offer. Thereafter, on July 5, 2017, Party G submitted a revised

proposal reflecting a slightly modified provision for the potential increase in the



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      59.   Despite this plain interest, on August 3, 2017, after Party G informed

Defendant Larkin that it was withdrawing from the process because the Company’s



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      E.     Exclusivity with Party D/E

      62.    Instead, on August 7, 2017, the Special Committee recommended, and

the Board approved, entering into an exclusivity agreement with Party D/E for a

period of 30 days. Barely a month later, on September 13, 2017, the Special

Committee was informed that Party D/E may be unable to confirm its initially

proposed price of $6.25 based on its view of the tax equity/financing and pricing

assumptions at certain of U.S. Geothermal’s project sites. The Special Committee

thereafter sent a notice regarding the termination of the exclusivity period.

      63.    On September 21, 2017, the Special Committee was informed that

Party D and Party E had ended their partnership relating to the joint proposal.

During discussions with Party E throughout the process, Party E’s interest in U.S.

Geothermal related to its operating assets and it expressed no interest in acquiring



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the entire company absent a partner such as Party D, but the Special Committee

had previously determined that a sale of only a portion of the assets of U.S.

Geothermal was not the preferred structure or most beneficial to stockholders, so

the Special Committee did not pursue a separate sale of the operating assets to

Party E.

      F.      Exclusivity with Ormat

      64.     On September 22, 2017, Party D submitted a proposal without Party E

that contained a proposed price per share of $5.40, which could be increased by an

additional $0.85 per share assuming certain milestones were met prior to closing.

Thereafter, Defendant Hedayat contacted Ormat to discuss whether Ormat had an

interest in renewing its proposal.

                      Relatedly, the Special Committee met and determined that

Party D’s standalone proposal was “inadequate, no longer had the support of a

strong financial partner in Party E and was unlikely to trigger an increase in price

per share.”

      65.     Nonetheless, on September 28, 2017, the Special Committee

determined to go back to Party D to give them another opportunity to put together

an offer that had no financing contingency and a higher price and simultaneously

discussed the terms of an exclusivity agreement with Ormat. The Special

Committee recommended to the Board, and the Board authorized, that the



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Company pursue a transaction with Ormat as outlined in its initial proposal with a

forty-five day exclusivity agreement.



      66.   In late September, in connection with the possible failure of the sales

process, Defendant Hedayat reviewed operations and cash flows for U.S.

Geothermal assuming it remained a stand-alone company, the development

projects that remained undeveloped, as well as a number of other assumptions

regarding costs and anticipated cash flow. This review, which was discussed with

the members of the Executive Committee of the Board – which consisted of

Defendant Glaspey and Defendants Hill, Pappas and Hedayat (three of the four

members of the Special Committee) – placed a potential value (not trading price)

of the outstanding shares at the end of 2018 of approximately $5.85 per share.20

      67.   On October 3, 2017, the Special Committee received (1) a written

proposal from Ormat to acquire the Company at an indicative price of $5.75 per

share and (2) written confirmation from Party D of its September 22 proposal of

$5.40 per share, which could be increased by an additional $0.85 per share

assuming certain milestones were met prior to closing. During the following two

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      This valuation was an intrinsic valuation and did not account for a premium
that would be associated with a buyout. Importantly this valuation was specifically
shared with the executive committee of the Board, which included Defendants
Glaspey, Hill, Pappas, and Hedayat – i.e., three of the four members of the Special
Committee.


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weeks, Defendants Pappas and Hedayat held multiple discussions with Ormat

regarding its bid and, on October 13, 2017, Defendant Hedayat sent Ormat

proposed forms of a proposal letter and exclusivity agreement. On October 20,

2017, Party D submitted a sua sponte revised proposal that contained an indicative

bid of $5.60 per share with the potential to increase the per share price to $6.25

based on the occurrence of certain events prior to close. Simply stated, throughout

the sales process, Party D continuously indicated that it was serious about

acquiring U.S. Geothermal, and it is incredible to think that Party D would

continue devoting its resources and expressing serious interest about such an

acquisition in September and October of 2017 if it lacked a sound financing

source.

      68.    Nonetheless, on the same day, the Special Committee determined to

proceed with Ormat. Consistent with Defendant Pappas’ need and/or desire for

liquidity, the decision appears to have been based exclusively on certainty of

closing, and this consideration appears to have eclipsed the potential to secure

greater value for stockholders from other bidders. More specifically, according to

the Proxy,


          [i]n determining to proceed with Ormat, the special committee
          noted that the firm price in the Party D proposal was less than the
          Ormat proposal. The special committee discussed the events that
          would trigger the contingent price increase from $5.60 to $6.25
          in the Party D offer and determined those events were highly


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         speculative. Ultimately, the special committee concluded that
         Party D’s bid was economically inferior and less credible than
         the Ormat offer due to concerns over Party D’s ability to finance
         payment of the purchase price and Party D’s need to complete
         due diligence. The special committee also discussed the initial
         bid received in November 2016 from Party A with a price range
         of $5.30 to $5.93, as that proposal remained outstanding. The
         proposal from Party A would have been subject to increased U.S.
         regulatory requirements to complete the transaction, such as
         CFIUS, and could have also been subject to foreign currency
         control regulations. In addition, the midpoint of Party A’s price
         range was less than Ormat’s offer. As a result, and due to the
         special committee’s confidence in Ormat’s ability to complete
         the transaction, the special committee concluded that the Ormat
         offer remained superior to the offer from Party A.

      69.   The Board’s preference for the progression of a deal over greater

value was again demonstrated on October 27, 2017, when the Company received

an unsolicited inquiry from counsel to a private equity fund, the value of which is

not disclosed in the Proxy. Rather than delay – even briefly – the execution of an

exclusivity agreement with Ormat, the Special Committee decided not to pursue

this potentially valuable offer for stockholders. Instead, later that day, copies of

the Ormat proposal and exclusivity agreement were distributed to the Board and,

on October 30, 2017, U.S. Geothermal entered into a forty-day nondisclosure and

exclusivity agreement with Ormat with a working price of $5.75 per share – 10

cents per share below what the Company had internally valued itself at less than a

month prior; despite the fact that it had received offers of as much as $5.93 from

Party A, $6.25 from Party D/E,                       ; and despite the fact that both



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Party A’s            offers remained outstanding and Party D (alone) had made a

new offer of $5.60, which could be increased to as much as $6.25 per share.

      G.    The Board Lowers U.S. Geothermal’s Projections

      70.   In the interim, the Board began the inevitable process of lowering the

Company’s projections to make the impending Ormat deal appear palatable. As

noted above, in late September 2017, in connection with the possible failure of the

sales process, Defendant Hedayat reviewed the Company’s prospects as a stand-

alone entity with the members of the Executive Committee of the Board, which

itself ultimately placed a potential value of the outstanding shares at the end of

2018 of approximately $5.85 per share.

      71.   Having received no bids from Ormat or Party D above this amount, in

early October 2017 the Board “continued to consider the company’s alternatives

and its strategy to best build stockholder value should the company not proceed

with a sale transaction” and, “[a]s a result, during October 10-11, members of the

executive committee of the Board met in Boise for meetings regarding the

company’s strategy going forward as a stand-alone company.” According to the

Proxy, the “focus of the executive committee was the pricing strategy used by U.S.

Geothermal when bidding for PPAs” and the Company’s purported mid-October

adoption of “a revised, more aggressive pricing strategy when submitting bids.”




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      72.    Then, on October 20, 2017, according to the Proxy, “management

informed the special committee that the required capital expenditures for certain

expansion projects were increasing. This information, as well as recent

maintenance issues, caused the members of the special committee to place less

value on the expansion projects and its pricing expectations in any potential offer.”

And, on November 14, 2017, according to the Proxy, a recent PPA bid that the

Company had submitted for a PPA relating to Geysers, one of its development

projects, was not accepted, which would likely delay development at Geysers,

potentially resulting in increased costs related to that development. According to

the Proxy, “[t]his delay, combined with increased capital costs at an expansion

project and potentially increased transmission costs at San Emidio Phase II, also

caused members of the special committee to lower the value it placed on U.S.

Geothermal’s expansion and development projects.”

      H.     “Negotiations” with Ormat

      73.    Having secured exclusivity, Ormat immediately moved to decrease its

price. Citing “concerns over the level of the premium . . . [and] with a number of

working capital items and operational issues,” Ormat reduced its proposed price

per share to a range of $4.82 to $5.20 in mid-December 2017. Although the

original forty-day term of the exclusivity agreement had since run and the parties

were operating under successive ten-day extensions thereto, rather than simply



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wait out the exclusivity agreement and contact

                         or the new private equity firm that had contacted the

Company on October 27, 2017, Defendant Hedayat proposed to Ormat a $5.45 per

share merger consideration, plus a special dividend of $0.10 per share under

specified circumstances. In response, Ormat first offered $5.40 per share plus a

potential special dividend of up to $0.15, and later offered simply $5.45 per share –

                                                                ; 15 cents per share

below Party D’s absolute minimum offer; 53 cents per share below the $5.93 high

end of Party A’s still outstanding offer; and 40 cents per share below the

Company’s own internal valuation.

      74.    When the Special Committee met to consider this offer, it specifically

determined to disregard the concerns over the premium, as it “did not regard the

premium as relevant to the discussions regarding price.” Instead, it decided to

counter with a price range of $5.50-$5.55 per share. Consistent with the

Defendants’ focus on the procession of a deal, rather then securing the best deal

available, on December 19, 2017, the Special Committee recommended to the

Board, and the Board approved, the extension of the exclusivity period to January

2, 2018, and the continuation of negotiations with Ormat. The parties executed an

extension of the exclusivity period until January 2, 2018.




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        75.   On January 5, 2018, after the exclusivity period with Ormat expired,

Party D confirmed to the Special Committee that its previous offer was still open

and valid. Thus, Party D now had a facially superior offer of $5.60 per share with

potential triggering events to increase the price to $6.25 per share. However, Ormat

had already performed due diligence, both in the previous sales process and the

current, such that Defendant Pappas would have preferred the Buyout with Ormat

to finalize a transaction as quickly as possible.

        76.   Unsurprisingly, the Special Committee thereafter recommended that

the Board continue negotiations with Ormat, despite its increasingly inferior offer.

Specifically, on January 8, 2017, the Special Committee met and determined that

the “increased risk associated with a transaction with Party D as a result of its

incomplete due diligence and need to obtain financing” – creatures, of course, of

the Special Committee’s decision to grant Ormat exclusivity for almost two

months – did not warrant pursuing the higher offer from Party D. In other words,

the Special Committee again chose the progression of a deal over the terms of the

deal.

        77.   The Special Committee then discussed seeking a higher price from

Ormat in response to the reconfirmation of the offer from Party D, but, “based on

prior input from Ormat that its board had approved the price of $5.45 per share and

would not pay more,” determined that seeking an increased price from Ormat at



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this stage would be rejected and could put the transaction at risk. In other words,

yet again, the Special Committee chose the progression of a deal over the terms of

the deal.

      78.   The Special Committee therefore recommended to the Board that the

Company should continue to work with Ormat and that the credibility of the bid

from Ormat and greater certainty of closing offset the higher bid from Party D. On

January 9, 2018, the Board accepted this recommendation and approved another

extension of exclusivity with Ormat, until January 22, 2018.




      I.    The Board Quickly Wraps Up the Sales Process Even Though
            Superior Bids Remain Outstanding

      79.   Thereafter, the parties negotiated the remaining terms of the Merger

Agreement. On January 23, 2018, ROTH rendered its fairness opinion to the Board

and the Special Committee recommended, and the Board then unanimously voted

to approve and adopt, the Merger Agreement at $5.45 per share. On January 24,

2018, Ormat approved and executed the Merger Agreement, and each company

issued a press release announcing the Buyout:


                U.S. GEOTHERMAL INC. ENTERS INTO
              DEFINITIVE AGREEMENT TO BE ACQUIRED


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      BY ORMAT TECHNOLOGIES INC. FOR $5.45 IN
                 CASH PER SHARE

     BOISE, IDAHO – January 24th, 2018 - U.S.
     Geothermal Inc. (the “Company”) (NYSE American:
     HTM) announced today that it has entered into a
     definitive merger agreement under which a wholly
     owned subsidiary of Ormat Technologies, Inc. (“Ormat”)
     (NYSE: ORA) will acquire the Company for $5.45 per
     share in an all cash transaction.

     The agreement, which has been unanimously approved
     by both companies’ Boards of Directors, represents a
     premium of approximately 28.5% to the prior day closing
     stock price on January 23rd, 2018.

     Statement by Doug Glaspey, a Founder and Chief
     Executive Officer of US Geothermal

     “We are proud that Ormat, the industry leader in
     geothermal development, recognized our company’s
     value and have confidence in their ability to successfully
     develop the US Geothermal asset base,” said Doug
     Glaspey, CEO of US Geothermal. “This transaction
     provides compelling value to our stockholders and is a
     testament to the hard work and efforts of our talented
     team members.”

     Statement by Ormat

     “US Geothermal has developed a high-quality portfolio
     of geothermal assets,” said Isaac Angel, CEO of Ormat
     Technologies. “As part of Ormat, we will leverage our
     core capabilities to help improve generation and enhance
     efficiency of these assets while also working to advance
     expansion opportunities. With this transaction, we
     demonstrate again the implementation of our business
     strategy to grow our business with accretive M&A
     transactions.

     Transaction Details


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IV.   The Merger Was the Result of a Conflicted Process

      82.   The Merger Agreement and the insufficient Merger Consideration

were the result of a flawed and conflicted process. For their part, the Special

Committee and the larger Board acceded to the sale because they had much to lose

from a public ouster at the hands of Defendant Pappas and little to gain from

standing up to him and securing a nominally higher Merger Consideration. And,

for his part, Defendant Pappas got exactly what he wanted – a profitable exit


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strategy for his investment in U.S. Geothermal.

      A.     The Non-Pappas Defendants

      83.    First, the Non-Pappas Defendants acceded to the Pappas-induced sale

to protect their reputations and to avoid a potentially career-ending and reputation-

killing proxy fight loss, which could have affected their other business interests,

their positions in other companies in which they worked, and their positions on the

other boards on which they served. As outlined below, many of these Defendants

served on multiple boards and/or had significant business interests beyond U.S.

Geothermal – interests that could be damaged by a public proxy fight loss. For

example, in addition to U.S. Geothermal:

      • Defendant Larkin currently serves on the board of the following
        companies: Esrey Energy Ltd., Condor Resources Ltd., Tyner Resources
        Ltd. Gstaad Capital Corp., Westbridge Energy Corp., and Velocity
        Minerals Ltd. In addition, since 1983, Defendant Larkin has also been the
        President of the New Dawn Group, an investment and financial
        consulting firm, and a director and officer of various companies listed on
        Canada’s TSX Venture Exchange.

      • Defendant Hill is a corporate lawyer with Stoel Rives with experience in,
        among other things, corporate governance and mergers and acquisitions.
        He is also serving his fourth term as one of seven Governor-appointed
        directors (and is currently Chair) of the Idaho Energy Resources
        Authority, an instrumentality of the State of Idaho with the authority to
        finance the construction of electric generation and transmission projects
        for investor-owned, municipal and cooperative electric utilities, and
        certain renewable energy projects for independent developers. In
        addition, Defendant Hill serves as a member of the Board of Governors
        of the Andrus Center for Public Policy at Boise State University.




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      • Defendant Hedayat is the founder and Managing Director of Maryana
        Capital in Toronto, Canada and serves as a director for Restaurant Brands
        International Inc., a position that has resulted in significant publicly-
        reported annual income for Defendant Hedayat (including an option grant
        in 2016 with a notational value of $1,000,000 and an award of restricted
        share units (RSUs) in lieu of cash worth $100,000).

      • Defendant Glaspey currently serves as a director of Thunder Mountain
        Gold, Inc. and as President of the Geothermal Energy Association.

      • Defendant Mink is currently the President of Mink GeoHydro Inc. and
        serves on the board of the Geothermal Resources Council.

      84.   A public proxy fight loss to JCP Investment Management – which

controlled almost 15% of the Company – and the forced removal from the U.S.

Geothermal Board would have placed each of these Defendant’s other positions in

peril, thereby threatening their very livelihoods. Indeed, by way of example only,

Defendants Larkin, Hedayat, Glaspey, and Mink all serve on the boards of private

or publicly-traded companies. A public ouster from another publicly-traded

company’s board would place their qualifications into doubt and would make them

less attractive as a board member on the companies for which they already work,

as well as for new board positions. Similarly, Defendant Hill makes his living as a

corporate lawyer, with experience in mergers and acquisitions no less. His

business, to say nothing of his reputation, would surely suffer if he were forcibly

removed from a public company board. Finally, Defendant Hedayat is the founder

and Managing Director of a private equity firm, such that his business regularly

requires him to sit on the boards of portfolio companies. Again, a public ouster


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from the board of a publicly-traded company would place this very livelihood at

risk.

        85.   Second, the reputational and financial losses that these Defendants

would have suffered as a result of a public ouster at the hands of Defendant Pappas

far outweighed any nominal increase in value they may have secured for

themselves had they fairly negotiated for U.S. Geothermal’s non-insider

stockholders. That is because the Non-Pappas Defendants were not heavily

invested in U.S. Geothermal and much of their investment was in the form of

options. As of December 31, 2018, the Non-Pappas Defendants held, collectively,

only approximately 371,000 shares of U.S. Geothermal common stock and

482,020 options to purchase U.S. Geothermal stock, as outlined below:

        • Defendant Walker beneficially owned only 17,275 U.S. Geothermal
          shares and 80,553 U.S. Geothermal options;

        • Defendant Glaspey beneficially owned only 131,614 U.S. Geothermal
          shares and 205,695 U.S. Geothermal options;

        • Defendant Larkin beneficially owned only 67,470 U.S. Geothermal
          shares and 80,553 U.S. Geothermal options;

        • Defendant Mink beneficially owned only 24,729 U.S. Geothermal shares
          and 73,887 U.S. Geothermal options;

        • Defendant Hill beneficially owned only 67,470 U.S. Geothermal shares
          and 24,666 U.S. Geothermal options;




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another bidder that would have taken longer to consummate, or a standalone

strategy, they stood to gain, individually and collectively, very little. However, for

that small again, they risked a near-certain ouster at the hands of Defendant Pappas

– one that could have resulted in them losing their other lucrative employments and

board positions. Stated differently, the relatively miniscule amounts they these

Defendants stood to gain from defying Defendant Pappas and pursuing a sale to

    , a higher-priced sale to another bidder that would have taken longer to

consummate, or a standalone strategy simply were not material in comparison to

the sums these Defendants made in their other employments, as a result of their

other board memberships, and in cashing out their stock options early (as noted

below). By way of example only, Defendant Hill – who served on the Special

Committee – held zero shares, had virtually no financial incentive to maximize the

per share return for U.S. Geothermal stockholders, and every incentive (1) not to

be involved in a public proxy fight loss after having been on the U.S. Geothermal

Board for barely more than a year, and (2) to cash out his stock options and

maintain his professional reputation so as to not place his other employments at

risk. Indeed, and by way of example only, for every 10 cents of greater

consideration they secured for stockholders, the Non-Pappas Defendants stood to

collectively make just $85,310.80 more.

      88.    Finally, as alluded to above, in addition to the fact that the Non-



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Pappas Defendants stood to lose far more in a proxy fight to Defendant Pappas

than what they stood to gain in, for example, a sale to    the Merger also had the

added benefit of providing these same Defendants with liquidity and easy money

by cashing out their options. As of December 31, 2017, the Non-Pappas

Defendants collectively held approximately 482,020 U.S. Geothermal options – all

of which will fully vest and be cashed out upon the consummation of the Buyout –

as outlined below:




Finally, in addition to these Merger-related payments, certain members of the

Board also stood to gain further cash payments in connection with the Buyout, as

outlined below:




      89.    In short, these Defendants did what was easiest and financially safest

for them and agreed to the Pappas-induced sale to Ormat, which: (1) protected



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their reputations and other lucrative employment and board positions while (2)

providing them with easy liquidity. Protecting their professional reputations while

also receiving that windfall liquidity was, quite simply, a far better option than a

public and notorious proxy fight loss to an activist investor and the reputational

damage that would accompany it. In short, the risk of a public ouster at the hands

of Defendant Pappas to these Non-Pappas Defendants’ personal and financial well-

being far outweighed any nominal increase in value they may have secured for

themselves had they actually secured fair value for U.S. Geothermal’s non-insider

stockholders.

      B.    Defendant Pappas

      90.   Finally, Defendant Pappas was conflicted because his interests

diverged from those of the Company’s public, non-insider stockholders. That is

because JCP Investment Management, like all activist investors, was seeking a

quick payday at the expense of the Company’s long term-value. The Merger with

Ormat was this deal, and, as noted above, from the very beginning of his

acquisition of U.S. Geothermal stock, Defendant Pappas threatened a potential

change in Board composition if he did not get his way. For these reasons, the

Board did not pursue higher-value, but potentially less-certain, bidders, eschewing

them for the certainty that Ormat offered. What is worse, in so doing, the Board

virtually ignored several competing offers, and



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      91.   Nonetheless, that is what happened, as the Board acceded entirely to

Defendant Pappas’ need and/or desire for a quick payday at the expense of the

Company’s long term-value. And that is exactly what Defendant Pappas got. As

noted above, according to the January 25, 2018 Form SC13D/A filed on behalf of

entities associated with JCP Investment Management, through those entities,

Defendant Pappas purchased 938,360 shares for approximately $3,281,456 and

1,916,588 shares for approximately $8,724,372, resulting in an average cost basis

for the 2,854,948 shares held by entities associated with Defendant Pappas of only

$4.20 per share. The Merger Consideration of $5.45 per share represents a

30% return for JCP Investment Management’s brief investment in U.S.

Geothermal.23

V.    The Merger Did Not Provide Adequate Value to Stockholders


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   This return is consistent with Defendant Pappas’ investment theory, as he
professed while discussing his activist involvement in the sales of The Pantry, Inc.
and CST Brands, Inc. at CSP Magazine’s November 2017 Outlook Leadership
Conference: “Single-digit returns on capital spent are [not acceptable]… [y]ou
need at least double [digits].” See ‘Activist’ Stockholder Opens Up About CST,
The Pantry, Nov. 11, 2017 (available at http://www.cspdailynews.com/mergers-
acquisition-growth/mergers-acquisitions-news/articles/activist-stockholder-opens-
about-cst).


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      92.    Pursuant to the terms of the Merger Agreement, U.S. Geothermal

stockholders received $5.45 in cash for each share of U.S. Geothermal common

stock that they owned. This consideration as inadequate and undervalued the

Company.

      93.    This is perhaps best illustrated by the fact that Company most recently

valued itself at $5.85 per share – without any account for a premium associated

with a merger or takeover. And, consistent with this valuation, the Company’s

intrinsic value was on the rise prior to the announcement of the Merger. According

to the Company’s November 9, 2017 press release announcing its third quarter

2017 financial and operating results, the Company experienced its twentieth

consecutive quarter of positive cash flow from operations and EBITDA. In

addition, operating revenue for the first nine months of 2017 was $21.56 million,

compared to $20.90 million in the prior year period.

      94.    These favorable financial results prompted the Company to revise its

2017 USG Portion Guidance upward, such that Adjusted EBITDA, previously

estimated to be in the range of $9-12 million, was now expected to be in the range

of $11-13 million, and net income, as adjusted, previously estimated to be in the

range of $1-4 million, was now expected to be in the range of $2-5 million –

reflecting increases at or near 20% for both metrics.




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      95.   In commenting on U.S. Geothermal’s growth plans during the

Company’s third quarter 2017 earnings conference call, Defendant Glaspey (the

Company’s Interim CEO, COO, and President) noted that “several new

development projects can be constructed in 2018, which can add three to six net

megawatts of generation.” Such growth would demonstrate nearly a 15% increase

over the Company’s current net output of approximately 45 MWs.

      96.   This anticipated increase came just months after the Company

updated its San Emidio reservoir estimate in connection with its second quarter

2017 results, resulting in an increase in projected output from 18.7 net MWs up to

25.9 MWs. And, in January 2017, the Company increased the capacity of its San

Emidio reservoir from an estimate of 10 net MWs to an estimated generation

capacity of up to 47 net MWs – more than the Company’s current net output.

According to regular Company analyst GlobalData, this increase in capacity gives

U.S. Geothermal “a very cost competitive project.”

      97.   These recent operational achievements have translated into favorable

financial results. According to the Company’s August 10, 2017 press release

announcing its second quarter 2017 financial and operating results, operating

revenue for the first six months of 2017 was $14.75 million, compared to $14.17

million in the prior year period, and EBITDA for the first six months of 2017 was

$6.23 million compared to $5.73 million for the prior year period. On a quarterly



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basis, Operating Revenue for the quarter was $6.31 million, compared to $5.66

million for the prior year period, and EBITDA was $2.15 million for the quarter

compared to $1.94 million for the prior year period. In commenting on these

results, Defendant Glaspey suggested that there was more to come: “We believe

the market for baseload renewable energy is gradually improving, as evidenced by

our recent RFP proposal submittals.”

      98.    These favorable financial results are nothing new for the Company.

For the year 2016, U.S. Geothermal reported net working capital of $23.07 million,

as against net working capital of $10.08 million in 2015, reflecting an increase of

128.7%. The increase in net working capital was due to increase in current assets,

which grew 57.4% to $29.58 million, from $18.79 million in the previous year

while its current liabilities declined 25.2% to $6.51 million from $8.71 million.

      99.    Finally, and, most telling, at least two superior offers existed when the

Merger Agreement was executed, but were repeatedly ignored or rejected. As

noted above, at the time that the Board executed the Merger Agreement, Party D’s

October 20, 2017 bid of $5.60 per share with potential triggering events to increase

the price to $6.25 per share remained outstanding,



      100. In sum, the Merger Consideration inadequately compensated U.S.

Geothermal stockholders for their shares.



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VI.   The Stockholder Vote Was Not Fully Informed

      101. Directors of Delaware corporations are under a fiduciary duty to

disclose fully and fairly all material information within the board's control when it

seeks stockholder action. The Board breached this duty by causing a materially

incomplete and misleading Proxy to be filed with the SEC on March 20, 2018. As

discussed below, the Proxy omitted material information that prevented U.S.

Geothermal stockholders from casting an informed vote with respect to the

Buyout.

      102. First, the Proxy is entirely silent with respect to the timing and nature

of Defendant Pappas’ approval and election to the Board and the potential conflicts

he faced as an activist investor, including his apparent need and/or desire for

liquidity or his preference for a buyer (Ormat) that could satisfy that need quickly,

thereby creating a material misrepresentation that there was no conflict of interest

between Defendant Pappas and U.S Geothermal stockholders. Defendant Pappas,

as an activist investor, began accumulating shares of U.S. Geothermal during the

first sales process with Ormat in 2015-2016. By the time that sales process ended,

and the Board determined that continuing as a standalone company was in the best

interests of stockholders, Defendant Pappas had amassed an illiquid 6% block of

the Company’s common stock. Since he couldn’t sell his shares on the open

market without taking a substantial haircut, Defendant Pappas decided to buy even



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more shares and – perhaps more important at this juncture – influence with the

Board.

      103. Leading up to the annual stockholder meeting and director elections,

Defendant Pappas had purchased over 15% of the Company’s outstanding shares.

He then wielded the corresponding voting power of those shares to convince the

Board to recommend him to stockholders as a director. On September 30, 2017,

Defendant Pappas, at the Board’s recommendation, was elected to the Board. On

December 1, 2017, he was appointed to the Special Committee, and the rest is

history. Supra ¶¶35-81.

      104. The failure to disclose a director conflict, or even a full factual record

so stockholders could discern the conflict, is a breach of fiduciary duty. Given

Defendant Pappas’ placement on the Special Committee and Executive Committee

and the prominent role he played in negotiating the Buyout, it is unquestionable

that a stockholder would find information regarding his motives and conflicts

material.




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                                                                  such that the vote on

the Buyout was not fully informed.24

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      107. In sum, the Board conducted a flawed sales process that failed to

maximize stockholder value and caused a materially incomplete and misleading

Proxy to be filed with the SEC. The Board prevented Plaintiff and the Class from

being adequately compensated for their U.S. Geothermal shares, and deprived the

Company’s stockholders of the ability to cast an adequately informed vote with

respect to the Buyout. Accordingly, Plaintiff seeks monetary damages.



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       Attached hereto as Appendix 2 is a copy of this Amended Complaint in
which the non-public information that was withheld from U.S. Geothermal’s
stockholders is highlighted (to the best of Plaintiff’s ability) in grey, for the Court’s
ease in discerning what it is and what was withheld from U.S. Geothermal’s public
shareholders, which resulted in an uninformed vote.


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                              CAUSE OF ACTION

           (Against the Defendants for Breach of Fiduciary Duties)

      108. Plaintiff repeats and realleges each allegation set forth herein.

      109. The Defendants have violated fiduciary duties owed to the public

stockholders of U.S. Geothermal.

      110. By the acts, transactions, and courses of conduct alleged herein, the

Defendants have failed to obtain for the public stockholders of U.S. Geothermal

the highest value available for U.S. Geothermal in the marketplace.

      111. As alleged herein, the Defendants initiated a process to sell U.S.

Geothermal that undervalued the Company and vested them with benefits that were

not shared equally by U.S. Geothermal’s public stockholders. In addition, by

agreeing to the Buyout, the Defendants capped the price of U.S. Geothermal stock

at a price that did not adequately reflect the Company’s true value. Moreover,

Defendants failed to sufficiently inform themselves of U.S. Geothermal’s value, or

disregarded the true value of the Company, in an effort to benefit themselves.

Furthermore, any alternate acquirer was faced with engaging in discussions with a

management team and Board that was committed to the Buyout.                    Finally,

Defendants have to provide U.S. Geothermal’s public stockholders with all

material information necessary to decide whether to vote their shares in connection

with the Buyout.



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       112. As a result of the actions of Defendants, Plaintiff and the Class have

suffered damages in that they did not receive the highest available value for their

equity interest in U.S. Geothermal, and they also suffered the injury of an

uninformed stockholder vote. Plaintiff therefore seeks damages on behalf of

himself and the Class, in an amount to be determined at trial.



                             PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands relief in his favor and in favor of the

Class and against Defendants, as follows:

       A.    Declaring that this action is properly maintainable as a Class action

and certifying Plaintiff as the Class representative and his counsel as Class

counsel;

       B.    Directing the Defendants to account to Plaintiff and the Class for all

damages suffered as a result of the wrongdoing, including pre and post-judgment

interest;

       C.    Awarding Plaintiff the costs and disbursements of this action,

including reasonable attorneys’ and experts’ fees; and

       D.    Granting such other and further equitable relief as this Court may

deem just and proper.




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Dated: June 1, 2018                     COOCH AND TAYLOR, P.A.

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